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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION


UNITED STATES OF AMERICA                                              PLAINTIFF

v.                                          CRIMINAL NO. 5:14-cr-14-DCB-LRA

BRENDA DILLON NORMAN                                                  DEFENDANT


                                         ORDER


        Defendant Brenda Dillon Norman’s Motion for Continuance of

Sentencing Hearing filed by and through her counsel of record,

Honorable Dennis C. Sweet was denied by the Court by Order [70]

dated December 4, 2015. The Motion did not state a good cause for

the request. By telephone call this date, Mr. Dennis Sweet

advises that his request is based on a recent illness which

caused him to be hospitalized, and therefore he has not met with

his client to review the Presentence Investigation Report. Upon

reconsideration the Court will GRANT the request.

The     sentencing hearing of this matter will be continued and

reset for January 14, 2016 at 9:30 a.m. in Jackson, Mississippi.

        SO ORDERED this the        7th   day of December, 2015.




                                      s/David Bramlette
                                    UNITED STATES DISTRICT JUDGE
